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               EXHIBIT 5
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                                                                                       Manish K. Mehta
                                                                       71 South Wacker Drive, Suite 1600
                                                                             Chicago, Illinois 60606-4637
                                                                               Direct Dial: 312.212.4953
                                                                                      Fax: 312.767.9192
                                                                              mmehta@beneschlaw.com




                                                   February 26, 2021



VIA EMAIL AND OVERNIGHT DELIVERY

Whittle Management Inc.
54 West 40th St., 10th Floor
New York, NY 10018
Via Email to:
rchorazy@whittleschool.org
alexander.shing@cottonwoodmgmt.com
cwhittle@whittleschool.org
anand@whittleschool.org
accounting@whittleschool.org

        Re: Initiation of Arbitration Absent Immediate Payment Arrangements

To Whom It May Concern:

This is in follow-up to our November 2, 2020 letter to which we did not receive a response. Whittle
has yet to remit payment for the Overdue Amount, or any part of it, in connection with the services
performed pursuant to the MSA and Work Orders. The Overdue Amount is now equal to
$1,545,854 plus interest.

Infosys values its relationship with Whittle and appreciates that the economic conditions may have
contributed to Whittle’s delay in paying the Overdue Amount. However, without any assurances
from Whittle as to when, if at all, payment will be made, Infosys is left with no choice but to take
immediate action.

Pursuant to Section 17.7 of the MSA, Infosys is prepared to initiate an arbitration to recover these
unpaid and long due amounts. Attached is a draft of Infosys’ demand for arbitration to seek
payment of the Overdue Amount as well as both the significant interest that will continue to accrue
and all of the attorney’s fees and costs incurred as a result of Whittle’s failure to pay.

In the spirit of continuing our valued business relationship and to avoid incurring further collection
expense for which Whittle will be responsible, Infosys will wait 14 days from the date of this letter
before filing the demand in order to provide Whittle a final opportunity to make immediate
payment arrangements. Nothing contained herein or otherwise constitutes any waiver and Infosys
reserves all of its rights. I look forward to hearing from you as soon as possible.




                                       www.beneschlaw.com
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                                      Very truly yours,

                                      BENESCH, FRIEDLANDER,
                                       COPLAN & ARONOFF LLP




                                      Manish K. Mehta




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